                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


  UNITED STATES OF AMERICA                         )
                                                   )     1:15-cr-39
          v.                                       )
                                                   )     Judge Collier
  ROBERT R. DOGGART                                )     Magistrate Judge Lee


                                             ORDER

         It is ORDERED that the United States Marshal, or his authorized deputy, transport the

  Defendant, Robert R. Doggart, from his place of incarceration to Chattanooga, Tennessee,

  allowing sufficient time for the Defendant to be available in Chattanooga, Tennessee to meet with

  his attorney before the resentencing hearing set for June 17, 2020.

         SO ORDERED.

         ENTER:

                                                       /s/
                                                       CURTIS L. COLLIER
                                                       UNITED STATES DISTRICT JUDGE




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